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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF ILLINOIS

DIANA L. ROLAPE,                               )
                                               )
                       Plaintiff,              )
                                               )
vs.                                            )       Case No. 3:22-cv-565
                                               )
WALMART STORES, INC.,                          )
                                               )
                       Defendant.              )

                                    NOTICE OF REMOVAL

       Defendant, Walmart, Inc., by and through its attorneys, Rynearson, Suess, Schnurbusch &

Champion LLC, remove this case to the United States District Court for the Southern District of

Illinois pursuant to 28 U.S.C. § 1446 upon the following grounds:

                                              VENUE

       1.      There is now commenced and pending in the Circuit Court for the First Judicial

Circuit, Williamson County, Illinois, a certain civil action designated as No. 2021-L-143, in which

Diana L. Rolape is plaintiff and Walmart, Inc. (“Walmart”) is defendant.

       2.      Defendant removes this case to the United States District Court for the Southern

District of Illinois pursuant to 28 U.S.C. § 1446(a) because the original action was filed in

Williamson County, Illinois, which is within the Southern District of Illinois.

                                DIVERSITY OF CITIZENSHIP

       3.      The district courts for the United States have original jurisdiction over this litigation

pursuant to 28 U.S.C. § 1332.

       4.      Complete diversity of citizenship exists between plaintiff and defendant as required

by 28 U.S.C. § 1332(a).




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        5.     Plaintiff is now and was at the commencement of this action a citizen of the State

of Illinois.

        6.     Defendant Walmart is now and was at the commencement of this action a

corporation organized and existing under the laws of the State of Delaware with its principal place

of business in Arkansas. Walmart is a citizen of the States of Delaware and Arkansas.

                                AMOUNT IN CONTROVERSY

        7.     The amount in controversy, exclusive of interest and costs, exceeds $75,000.00 as

required by 28 U.S.C. § 1332(a).

        8.     In her complaint, plaintiff claimed that, as a result of the alleged incident, she

“suffered injuries, incurred medical expense, experienced pain, suffering, emotional distress, and

temporary disfigurement, and may suffer increased risk of future harm” (Complaint, ¶ 6).

        9.     Plaintiff’s complaint did not allege any specific amount for her damages and

provided no other information concerning her injuries, damages, or treatment (Complaint).

        10.    When the complaint itself does not explicitly establish the amount in controversy,

the district court may look outside the pleadings to other evidence of jurisdictional amount in the

record to determine if the amount in controversy requirement is met. Meridian Sec. Ins. Co. v.

Sadowski, 441 F.3d 536, 543 (7th Cir. 2006); Andrews v. E.I. Du Pont De Nemours and Co., 447

F.3d 510, 515 (7th Cir. 2006) (holding that defendant may establish amount in controversy through

interrogatories, contentions, or admissions in state court, calculations of damages in the complaint,

reference to plaintiff’s settlement demands or informal estimates, or by introducing affidavits from

employees or experts about how much it may cost to satisfy plaintiff’s demands); Chase v. Shop

"N Save Warehouse Foods, Inc., 110 F.3d 424, 427-28 (7th Cir. 1997).




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       11.     On February 23, 2022, counsel for plaintiff served discovery responses and

production on defendant’s counsel. Plaintiff’s discovery responses indicated that plaintiff had

sustained diminished cognitive function and psychiatric conditions as a result of the incident. The

medical records that she produced with her discovery responses indicated that plaintiff sustained

a closed head injury.

       12.     Plaintiff further disclosed that to date her medical bills total $42,450.67.

       13.     Defendant had insufficient information to establish that the amount in controversy

was in excess of $75,000 before February 23, 2022, because defendant had limited knowledge of

plaintiff’s claimed injuries, medical bills, treatment, and damages.

       14.     Based on the alleged past and future medical expenses, past and future pain and

suffering, emotional distress, increased risk of future harm past and future medical expenses,

$42,450.67 in disclosed medical specials, and the alleged permanency of plaintiff’s injuries,

defendant asserts to the Court that a preponderance of the evidence known to date establishes that

the amount in controversy exceeds $75,000, exclusive of interest and costs.

                                          TIMELINESS

       15.     Plaintiff filed the Complaint on October 29, 2021, and served defendant with the

Complaint and Summons on November 19, 2021. She served her discovery responses on February

23, 2022, from which defendant discerned that the amount in controversy exceeded $75,000.

       16.     This notice of removal was filed within thirty days after defendant learned the

amount in controversy exceeded $75,000 pursuant to 28 U.S.C. § 1446(b) and within one year

after commencement of the action pursuant to 28 U.S.C. § 1446(c).




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                                  NOTICE REQUIREMENTS

       17.     Written notice of the filing of this removal was given to plaintiff pursuant to 28

U.S.C. § 1446(d).

       18.     A copy of this notice of removal was filed with the First Judicial Circuit,

Williamson County, Illinois, as required by 28 U.S.C. §1446(d).

       19.     A copy of all process and pleadings were filed contemporaneously with this notice

of removal in accordance with 28 U.S.C. §1446(a).

       WHEREFORE, defendant, Walmart, Inc., removes this case to the United States District

Court for the Southern District of Illinois and hereby requests that the filing of this notice of

removal shall effect the removal of said civil action to this Court.

DEFENDANT DEMANDS TRIAL BY JURY.




                                       RYNEARSON, SUESS, SCHNURBUSCH & CHAMPION LLC


                                       By /s/James E. DeFranco
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